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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOSEPHINE PAITA AND ANGEL                         §
PAITA,                                            §
       PLAINTIFFS,                                §
                                                  §
v.                                                §      CIVIL ACTION NO. 4:18-cv-1300
                                                  §
CHASE MORTGAGE,                                   §
      DEFENDANT,                                  §
                                                  §
SPECIALIZED LOAN SERVICING,                       §
LLC,                                              §
       INTERVENOR.                                §

                                      STATUS REPORT

       Intervenor, Specialized Loan Servicing, LLC ((hereinafter “SLS”) files this Status Report

pursuant to the Order to Report dated November 20, 2018 [Doc. 21] issued by the Honorable

Lynn N. Hughes. SLS respectfully reports to the Court the following:

       1.      The only remaining issue is Intervenor’s claim against Plaintiffs for foreclosure of

the property located at 11403 Valley Spring Drive, Houston, Texas 77043 (the “Property”).

       2.      On or about December 4, 2018, SLS received full payoff for the amount due and

owing on the loan.

       3.      SLS’s foreclosure counterclaim is now moot. Accordingly, the sole remaining

claim in this case is resolved, and SLS requests the Court non-suit SLS’s counterclaim and

dismiss the case.




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Dated:         December 13, 2018.        Respectfully submitted,


                                         BARRETT DAFFIN FRAPPIER
                                         TURNER & ENGEL, LLP

                                         By:   /s/ Crystal G. Gibson
                                                Crystal G. Gibson
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                                                (972) 340-7901
                                                (972) 341-0734 (Facsimile)
                                                ATTORNEYS FOR INTERVENOR



                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Status Report was served as indicated to the
following parties on December 13, 2018:

Via CMRRR: 9414 7266 9904 2964 7713 35
and First Class U.S. Mail
Josephine Paita
Angel Paita
11403 Valley Spring Drive
Houston, TX 77043
                                                 /s/ Crystal Gee Gibson
                                                Crystal Gee Gibson




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